Case 8:05-cr-00276-TPB-TGW Document 58 Filed 09/20/05 Page 1 of 1 PageID 121


                           UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF FLORIDA
                                  TAMPA DIVISION


UNITED STATES OF AMERICA,


vs.                                            CASE NO. 8:05-CR-276-T-17-TGW


HUMBERTO PACHECO-NUNEZ
                                       /

                                             ORDER

        This cause comes before the Court on the defendant’s appeal of denial of motion for
reconsideration of bond (Docket No. 43), response thereto (Docket No. 57), and transcript of
detention hearing (Docket No. 55). The Court finds the orders of the magistrate judge denying
bond and the government’s response to the appeal persuasive and incorporates them by
reference. The Court finds that the magistrate judge correctly denied bond in this case.
Accordingly, it is


        ORDERED that the appeal (Docket No. 43) be denied.


        DONE AND ORDERED in Chambers in Tampa, Florida this 20th day of September,
2005.




Copies furnished to: All Counsel of Record
